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                IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

BRIAN PLATT,                  :               CIVIL ACTION NO. 1:19-CV-1829
                              :
                Plaintiff     :               (Judge Conner)
                              :
           v.                 :
                              :
JAMES GRAHAM, R. CLEM         :
MALOT, PENNSYLVANIA           :
MUNICIPAL CODE ALLIANCE,      :
INC., and NEW OXFORD BOROUGH, :
                              :
                Defendants    :

                                       ORDER

      AND NOW, this 6th day of November, 2020, upon consideration of

defendants’ motion (Doc. 37) to dismiss plaintiff’s amended complaint pursuant to

Federal Rule of Civil Procedure 12(b)(6), and for the reasons set forth in the

accompanying memorandum of today’s date, it is hereby ORDERED that:

      1.     Defendants’ motion (Doc. 37) to dismiss is GRANTED in part and
             DENIED in part as follows:

             a.     The motion (Doc. 37) is GRANTED to the extent that Platt’s
                    First Amendment claim based on Graham’s text messages to the
                    Abbottstown Borough administrator is DISMISSED without
                    prejudice.

             b.     The motion (Doc. 37) is otherwise DENIED.

      2.     Plaintiff is granted leave to file a third amended complaint within
             21 days of the date of this order in accordance with the accompanying
             memorandum. In the absence of a timely filed amendment, this action
             shall proceed on the amended complaint subject to the dismissals set
             forth at paragraph 1.
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3.    Defendants’ deadline to respond to the second amended complaint
      under Federal Rule of Civil Procedure 12(a)(4) is DEFERRED for the
      duration of the 21-day amendment period set forth in paragraph 2
      above.


                              /S/ CHRISTOPHER C. CONNER
                              Christopher C. Conner
                              United States District Judge
                              Middle District of Pennsylvania
